






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00427-CV






County of Reeves, Appellant


v.


Texas Commission on Environmental Quality and Town of Pecos City, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GV-06-001883, HONORABLE DARLENE BYRNE, JUDGE PRESIDING





O P I N I O N


		This is an administrative appeal challenging a district court judgment affirming
the&nbsp;Texas Commission on Environmental Quality's (TCEQ's) decision to reject or dismiss, for
"failure to prosecute," an appeal under section 13.043(b) of the water code seeking to challenge a
rate change by a municipally-owned utility.  See Tex. Water Code Ann. § 13.043(b)(3), (c)
(West&nbsp;2008).  For reasons we explain below, we will reverse the district court's order and the
TCEQ's decision.


BACKGROUND

Statutory framework

		The legislature has provided that the governing body of a municipality, unless it
elects&nbsp;to cede such jurisdiction to the TCEQ, "has exclusive and original jurisdiction over all
water&nbsp;and sewer utility rates, operations and services provided by a water and sewer utility within
its corporate limits" "for the purpose of regulating rates and services so that the rates may be fair,
just, and reasonable and the services adequate and efficient."  Id.  § 13.042(a)-(c) (West 2008). 
However, the legislature has given the TCEQ "exclusive appellate jurisdiction to review"
certain&nbsp;rate-making decisions of municipal governing bodies.  Id.  § 13.042(b).  One&nbsp;of&nbsp;these
legislative grants of appellate jurisdiction to the TCEQ is provided in section&nbsp;13.043(b)(3) of
the&nbsp;water code.

		Section 13.043(b)(3) authorizes ratepayers of a municipally-owned utility who reside
outside the municipality's corporate limits (and, therefore, would not vote in its municipal elections)
("outside ratepayers") to appeal to TCEQ "a decision of the governing body . . . affecting their water,
drainage, or sewer rates."  Id. § 13.043(b)(3).  In such a proceeding, "the commission shall hear the
appeal de novo and shall fix in its final order the rates the governing body should have fixed in the
action from which the appeal was taken."  Id. § 13.043(e). (1)  The legislature has further charged that
"[t]he commission shall ensure that every rate made, demanded, or received by any retail public
utility . . . shall be just and reasonable.  Rates shall not be unreasonably preferential, prejudicial, or
discriminatory but shall be sufficient, equitable, and consistent in application to each class of
customers."  Id. § 13.043(j).

		The legislature has required that an appeal under section 13.043(b) "must be initiated
by filing a petition for review with the commission and the entity providing service within 90 days
after the effective date of the rate change."  Id. § 13.043(c).  "The petition," the legislature has
further required, "must be signed by the lesser of 10,000 or 10 percent of those ratepayers
whose&nbsp;rates have changed and who are eligible to appeal under Subsection (b)."  Id. (2)  Consequently,
to appeal a decision of a municipal governing body "affecting the[] water, drainage, or sewer rates"
that a municipally-owned utility can charge them, outside ratepayers must obtain petition signatures
from at least ten percent of the utility's customers (10,000, if that figure is less) who both
"reside&nbsp;outside the corporate limits of the municipality" and "whose rates have changed."  See id.
§&nbsp;13.043(b)(3),&nbsp;(c).  For a person's signature to count toward the ten-percent requirement, in other
words, the person must, as TCEQ observes in its brief, "have two qualifications: they must live
outside the City's limits and they must have had a change in their rates."

		The legislature has also imposed a corresponding obligation on the governing bodies
of municipally-owned utilities when changing the rates of outside ratepayers:  "[W]ithin 30 days
after the date of a final decision on a rate change," the municipal governing body "shall provide
individual written notice to each ratepayer eligible to appeal who resides outside the boundaries
of&nbsp;the municipality."  Id. § 13.043(i).  "The notice must include, at a minimum, the effective date
of the new rates, the new rates, and the location where additional information on rates can be
obtained."  Id.  When imposing these notice requirements, the legislature necessarily contemplated
that the municipality and its utility--which, after all, bills its ratepayers--would know or could
ascertain which of the outside ratepayers were impacted by its rate change, what their new rates
were, and the mailing addresses of those ratepayers.


Rule 291.42

		The TCEQ has promulgated rules regarding appeals of rate actions under
section&nbsp;13.043(b) of the water code.  See generally 30 Tex. Admin. Code § 291.41-.43 (2006). 
These include rule 291.42, which specifies various required contents of a petition seeking review of
rates under section 13.043(b):


(a)	Petitions for review of rate actions filed pursuant to the Texas Water Code,
§&nbsp;13.043(b), shall contain the original petition for review with the required
signatures.  Each signature page of a petition should contain in legible form
the following information for each signatory ratepayer:


(1)	a clear and concise statement that the petition is an appeal of a specific
rate action of the water or sewer service supplier in question as well as a
concise description and date of that rate action;


(2)	the name, telephone number, and street or rural route address
(post&nbsp;office&nbsp;box numbers are not sufficient) of each signatory ratepayer. 
The petition shall list the address of the location where service is received
if it differs from the residential address of the signatory ratepayer;


(3)	the effective date of the decision being appealed;


(4)	the basis of the request for review of rates; and


(5)	any other information the commission may require.


Id. § 291.42(a); see also id. § 291.42(b) ("A petition must be received from a total of 10,000 or 10%
of the ratepayers whose rates have changed and who are eligible to appeal, whichever is less."),
(c)&nbsp;(no filing fee required for "appeals or complaints filed under Texas Water Code §13.043(b).").

		A central disputed issue in this proceeding, as we further discuss below, concerns the
"concise description . . . of that rate action" that rule 291.42(a), subpart (1), states should be included
on "[e]ach signature page of a petition . . . for each signatory ratepayer."  TCEQ maintains that the
"concise description . . . of that rate change" that rule 291.42 requires on each signature page of a
petition must not only state that each signatory is complaining that his water or sewer rates were
changed (e.g., "City A raised our water rates and we're appealing that decision"), but must
specifically identify each signatory ratepayer's old rates and the new rates of which he is complaining
(e.g., "our old water rates were X, City A raised them to Y, and we're appealing that decision."). 
TCEQ has published a two-page pamphlet titled "Appealing a Rate Change Decision Made by a
Board of Directors, a City Council, or County Commissioners," which it characterizes as a
"guideline" accurately reflecting this and other requirements of rule 291.42.  The pamphlet includes
a "sample petition":


Sample Petition

(The wording underlined should be revised as needed for your petition.)


Petition to Appeal Rates Established by the Board of Directors

XYZ Water Supply Corporation

1234 Main Street

Anytown, Texas 99999

	The undersigned ratepayers of XYZ Water Supply Corporation hereby appeal
the decision of the board of directors of the Corporation affecting the rates charged
to them by XYZ Water Supply Corporation.  The rate change was effective on
September 1, 2000, and affected the rates charged for water utility service, tap fees,
late charges, and reconnect fees.  On September 5, 2000, the ratepayers were notified
by the service provider of this rate increase.  The undersigned request that the
Texas&nbsp;Commission on Environmental Quality review the decision to determine if the
rates established are just and reasonable.  The old rates charged by the service
provider are $20.00 minimum bill plus $2.00 for each additional 1,000 gallons,
and&nbsp;the new rates are $25.00 minimum bill plus $2.00 for each addition [sic]
1,000&nbsp;gallons.  The undersigned designate the XYZ Property Owners Association as
their representative on the matter.  Correspondence to the ratepayers' representative
may be directed to Ms. Jane Doe, President, XYZ Property Owner Association,
1235&nbsp;Main Street, Anytown, Texas 99999; 512/555-4321.


The sample petition indicates that, within any space remaining on the page beneath this statement,
signatories should provide their printed names and signatures, "Service Address (AND Mailing
Address If Different from Service Address)," and phone numbers.

		TCEQ's rules do not specify any particular consequence of failing to comply with
rule&nbsp;291.42.  The agency has explained that its requirement that each signature page recite the
signatories' old and new rates enables it to administer the two statutory "qualifications" for signing
a petition to appeal a municipal rate-making decision under section 13.043(b)(3).  Specifically,
TCEQ has insisted that it must "strictly enforce" its requirement that each signature page recite the
signatories' old and new rates because if "the new and old rates were not clearly described" in this
manner, "TCEQ could not ascertain that the people signing the petition were indeed those whose
rates had changed."  As for whether the signatories' statutory qualifications might be easily verified
from other information they have provided in their petition, the agency dismisses this notion as
"unreasonable" or "impossible" because "some petitions can contain hundreds if not thousands of
signatures."  TCEQ similarly urges that each signature must appear on the same page as the
recitation of the signatories' old and new rates because otherwise the agency lacks assurance that
the&nbsp;signatories are "knowingly and intentionally" appealing their rate change or "knew what
they&nbsp;were signing."


The Ratepayers' efforts to appeal

		This proceeding arises from the efforts of a group of outside ratepayers
(the&nbsp;"Ratepayers") to appeal, under section 13.043(b)(3) of the water code, an ordinance of the
Town&nbsp;of Pecos City that adopted new water and wastewater rates for the City's municipal utilities
effective December 8, 2005.  On the ninetieth day after the ordinance's effective date,
March&nbsp;8,&nbsp;2006, a "Petition of County of Reeves and Other Outside City Ratepayers Pursuant to
Section 13.041(b) and (c), Texas Water Code, to Appeal Water and Wastewater Rates Adopted By
the Town of Pecos City Effective December 8, 2005" was filed with TCEQ.  The petition
consisted&nbsp;of a front page, two pages containing signatures, and three pages of attachments.  The
front&nbsp;page stated the intent of the County of Reeves (where the Town of Pecos City is located)
and&nbsp;"the outside ratepayers whose signatures are on this petition [to] . . . appeal the decision of the
Town of Pecos City ("City") effective December 8, 2005 to adopt new water and wastewater rates." 
The petition attached and incorporated by reference "[a] true and correct copy of the Town of Pecos
City New Water and Wastewater Rates, being ordinance No. :05-1-01, effective December 8, 2005." 
Attached to the petition were two sets of charts or lists that, as TCEQ's counsel acknowledged
during oral argument, reflected the new water and wastewater rates that the City had adopted in the
ordinance, as well as the City's prior water and wastewater rates.

		Also attached to the petition and incorporated by reference were a March 27, 2000
"Settlement Agreement" and "Water Distribution Agreement" that purported to resolve past
disagreements between the City and County concerning the City's provision of water and wastewater
services to a County-owned corrections facility located outside the City limits.  The petition stated
that, "Appellants believe that the Commission should consider in its decision the past history,
including the Settlement Agreement . . . as well as the Water Distribution Agreement . . . which
remains in effect."

		The petition continued, "Appellants contend that the New Ordinance is invalid for
the following reasons:"


(1)	it is not just and reasonable;

(2)	it is unreasonably preferential and discriminatory;

(3)	it is not sufficient, equitable and consistent to each class of customer;

(4)	it is not based upon a fair allocation of costs;

(5)	it is not based upon cost of service;

(6)	it would result in an unfair allocation of costs among classes of customers;

(7)	it would result in excessive transfers of both water and wastewater revenues
over expenses to the City's general fund; and

(8)	it was based upon a Water and Wastewater cost of service and rate design
study that is flawed, including that it contains absolutely nothing relevant to
allocation of costs between classes of customers.


The petition requested the establishment of interim rates pending the TCEQ's final decision and
"the&nbsp;establishment of rates that are just and reasonable."

		The first page of the petition was signed at the bottom on behalf of the County by its
constitutional county judge, then the Hon. Jimmy B. Galindo.  Immediately following, at the top of
the petition's second page, was the following statement, in boldface print:


	By signature below, I join the petition to appeal the adoption of the
Town&nbsp;of Pecos City Ordinance No. 05-12-01 effective December 8, 2005, which
adopted water and wastewater rates that are not just and reasonable to the
Texas Commission on Environmental Quality.


Below this statement were eleven numbered signature lines.  The first nine lines had a name printed
or typed beneath it.  The first five signature lines also contained printed or typed street addresses for
the respective signatories.  The remaining signature lines left blanks for "NAME" or "ADDRESS,"
as appropriate.  Lines one through eight, ten, and eleven were signed.  In order, the signatures were
"Jimmy B. Galindo," individually, "Peggy Cox," "Manuel Salcido," "Russ Salcido," "Hilda Garcia,"
"Belen Adame," "Herrera Industries," "Nicolas Valenzuela," "Yolanda Sandoval," and
"Emeteria&nbsp;Sandoval."  Each signatory provided a street address in either printed or hand-printed
form, though only Herrera Industries also included a city or zip code.  None included a phone
number.  Line nine, below which was printed the name "Daniel Valenzuela," was left blank.

		At the top of the petition's third page was a bold-faced statement identical to that
appearing at the top of the preceding page.  Below this statement were signature lines numbered
twelve through twenty-five.  Signatures appearing on lines twelve through seventeen were, in order,
"Billy W. Overcash," "Aurelio Lopez Jr.," "Aurelio Lopez," "Fred Brookshire," "Dene Lindsey,"
and "Wayne North."  Each person also provided a street address but no additional contact
information.  The pages that followed consisted of the attachments--the new rates, old rates,
Settlement Agreement, and Water Distribution Agreement.

		On March 20, 2006, a TCEQ employee identifying her title as "Staff Auditor, Utilities
and Districts Section, Water Supply Division" sent a "Notice of Deficiency" to the Ratepayers'
counsel.  The Notice of Deficiency stated that "[y]our petition is incomplete and cannot be
accepted&nbsp;for filing," but did not elaborate as to the nature of any defect other than to quote the
language of rule 291.42(a) and to enclose the TCEQ's "Appealing a Rate Change Decision Made
by a Board of Directors, a City Council, or County Commissioners" pamphlet that contained the
"sample petition."  Subsequent correspondence from the Ratepayers' counsel referenced a March&nbsp;16
conversation during which, according to counsel, the TCEQ Staff Auditor had "indicated that the
petition . . . was deficient because we did not use a TCEQ form" and that counsel had "disagreed and
stated that neither section 13.043 nor rule 291.42, nor any other statute or regulation, required that
we use&nbsp;a&nbsp;TCEQ form."  The Notice of Deficiency gave the Ratepayers a deadline of April 7, 2006
to "submit a signed petition with the above information . . . or your petition will be return [sic] for
failure to prosecute."

		The Ratepayers filed a second version of their petition on April 7, 2006. (3)  Although
it retained the same basic structure and the original--a first page stating the Ratepayers' intent to
appeal and their grounds, then signature pages, followed by the same attachments as with the
original--its contents were much more elaborate.  The first page was identical to that of the
original,&nbsp;including incorporating the attachments by reference, but (1) added a statement that
"[c]orrespondence to the rate payers' representative may be directed to" their counsel, and providing
counsel's mailing address, phone number and fax number (4); (2) added the county judge's full mailing
address and phone number below his signature line; and (3) indicated that the City's city manager
and city attorney were copied, and indicating their respective mailing addresses and phone numbers.

		The next component of the Ratepayers' petition, the signature pages, began with the
following statement:


	By signature below, I join the petition to appeal the adoption of the Town of Pecos
City Ordinance No. 05-12-01 effective December 8, 2005 which adopted water and
wastewater rates that are not just and reasonable to the Texas Commission on
Environmental Quality.[ (5)]  I acknowledge that I have reviewed the attached schedule
of water and wastewater rates effective December 8, 2005 and the schedule of water
and wastewater rates in existence previous to that date.


The statement continued, "I agree to allow the following individual to act as my representative
in&nbsp;this&nbsp;matter."  Below this, once again, was the name, mailing address and phone number for the
Ratepayers' counsel.  Following counsel's contact information, the document stated that
"[t]he&nbsp;address and phone number of the utility is as follows," and provided the mailing address and
phone number for the City's water and wastewater department.

		Following the utility's contact information were signature blocks numbered one
through three.  In each, a designated line was provided for "Signature."  Below this were the person's
printed or typed "Name," "Address," and "Phone Number." (6)  Unlike in the original version, the
second version provided the full mailing address of each signatory, plus a phone number, except for
one individual who indicated that he did not have a phone. (7)  Below the third signature block, the
sequence repeated itself--the statement of acknowledgments, followed by contact information for
the Ratepayers' counsel and the utility, then three more signature blocks--with the sequence
repeating throughout the remainder of the document until concluding with a final set of two signature
blocks, sixteen and seventeen.

		The signature blocks were numbered continuously one through seventeen.  The
printed or typed names in the signature blocks corresponded to the names that had been printed
on&nbsp;and/or signed on the earlier version of the petition, and were in the same order. (8)  Twelve of
the&nbsp;persons who had signed the earlier version of the petition also signed the second
version--Jimmy&nbsp;B. Galindo individually, Peggy Cox, Manuel Salcido, Russ Salcido, Hilda Garcia,
Belen Adame, Herrera Industries, Yolanda Sandoval, Emeteria Sandoval, Billy W. Overcash,
Fred&nbsp;Brookshire, Dene Lindsey, and Wayne North--plus Judge Galindo, on behalf of the County. 
Three of the earlier signatories did not, Nicolas Valenzuela, Aurelio Lopez Jr., and Aurelio Lopez. 
One individual whose name had been printed on the original version but had not signed it,
Daniel&nbsp;Valenzuela, signed the second version.

		The first page of the revised petition, followed by the repeating sequence of
acknowledgments, counsel and utility information, and signature blocks, is contained within a single
eight-page document.  TCEQ places great emphasis on the fact that the page breaks occur at irregular
intervals that separate all or part of the acknowledgments and/or counsel and utility information from
their corresponding set of signature blocks that follow them.  For example, although signature blocks
one through three (Jimmy B. Galindo, Peggy Cox, and Manuel Salcido) appear on page three of the
petition, four lines of the preceding acknowledgment--"By signature below, I join the
petition&nbsp;to&nbsp;appeal the adoption of the Town of Pecos City Ordinance No. 05-12-01 effective
December 8, 2005 which adopted water and wastewater rates that are not just and reasonable to the
Texas Commission on Environmental Quality.  I acknowledge that I have reviewed the attached
schedule . . ."--actually appear at the end of page two.  Similarly, following signature block three,
at the bottom of page three appear five lines of the acknowledgment that precedes signature blocks
four through six, while the signature blocks themselves (Russ Salcido, Hilda Garcia, and
Belen&nbsp;Adame) appear on the following page four.  The page breaks recur at similar intervals
throughout the document such that signature block groups four through six, seven through nine
(signed by Herrera Industries and Daniel&nbsp;Valenzuela), ten through twelve (Yolanda Saldoval,
Emeteria Sandoval, and Billy&nbsp;W.&nbsp;Overcash), and thirteen through fifteen (signed only by
Fred&nbsp;Brookshire, no. 15) actually&nbsp;appear above the full text of the acknowledgment (which, again,
begins with "By&nbsp;signature&nbsp;below . . .").  Thus, on each of these pages, the entire text of the
acknowledgment appears somewhere on the page, although it appears either in portions split above
and below the signature blocks or appears in full below them.  However, on the last page of the
document, containing signature blocks sixteen and seventeen (Dene Lindsey and Wayne North), no
portion of the acknowledgment appears. (9)

		Curiously, the administrative record also contains, alongside the March 2006
Notice&nbsp;of Deficiency, a one-page document titled "City of Pecos Outside City Limit
Water/Wastewaster Customers As of 12-13-05."  As TCEQ observes in its appellate briefing, this
document "bears a fax notation indicating that it was faxed from the City of Pecos" and "consists
of 55 names." (10)  Elsewhere in the agency record, alongside the Ratepayers' second version of their
petition, is a fax cover sheet bearing fax notations that correspond to those on the "City of Pecos
Outside City Limit Water/Wastewaster Customers As of 12-13-05" list.  The fax cover sheet, bearing
Town of Pecos City letterhead, is dated May 11, 2006, and indicates a two-page transmission from
the city manager to the TCEQ Staff Auditor.  On the cover sheet is a space for "subject matter" and
the following: "outside city limits--Rate customers."  See Tex. Water Code Ann. § 13.043(i).

		TCEQ acknowledges that this faxed list represents City outside ratepayers whose rates
had been changed by the December 8, 2005 ordinance.  Pointing to the list, TCEQ observes that
because the petition was required to "be received from 10% of the ratepayers whose rates have been
changed," "six signatures were required in this case." (11)  In this list of 55 outside ratepayers whose
rates had changed appear the names of fifteen of the sixteen individuals whose signatures appear
on&nbsp;the Ratepayers' original petition, (12) plus the County detention facility.  The list similarly
contained&nbsp;the County and all thirteen individual signatories on the second version of the petition. 
See id. § 13.043(b)(3), (c) (authorizing outside ratepayers to appeal municipal rate-making decision
if petition signatures are obtained from at least ten percent of ratepayers who "reside outside the
corporate limits of the municipality" and "whose rates have changed.").

		On May 26, 2006, the Ratepayers' counsel wrote the TCEQ Staff Auditor noting
difficulty "reaching you by phone," requesting a status conference regarding their petition, and
urging that she "communicate to me the current status of TCEQ processing of the application, as
well as the next anticipated step."

		In a letter dated June 7, the TCEQ Section Manager, Utilities and Districts Section,
Water Supply Division, wrote the Ratepayers' counsel advising that "[y]our response" to the
Notice&nbsp;of Deficiency "does not conform to 30 TAC §291.42" and, "[t]herefore, referenced petition
is being returned for failure to prosecute."  The Ratepayers then filed with the TCEQ commissioners
a "Motion for Reconsideration of Executive Director's Decision of June 7, 2006 to Return Petition
for Failure to Prosecute." (13)  The agency extended its own time to act on the motion until August 4
and invited the City, its executive director, and the TCEQ's Office of Public Interest Counsel to
submit briefing.  In his brief, the Executive Director justified his staff's rejection of the Ratepayers'
appeal for "failure to prosecute" on three grounds:



  	"The ED's interpretation of 'a concise description of the rate action'" in
rule&nbsp;291.42 "requires a petition to include both the old and new rates."  In the
Executive Director's view, the Ratepayers failed to meet this standard
because they "did not include their prior rates [but] only attached a schedule
of the new rates."  "By not including the old rates," he reasoned, "Petitioners
failed to describe the rate increase that they were appealing."


	


  	To ensure that the signatures on a petition are those of ratepayers of a
municipally-owned utility who reside outside the municipality's corporate
limits, the Executive Director urged, "the TCEQ must strictly enforce
30&nbsp;Tex.&nbsp;Admin. Code § 291.42(2)" to "require[] that a ratepayers' signature
. . . be on each page that contains the description of the rate action.  The
rationale behind this requirement is to ensure that each signature is that of a
ratepayer who resides outside of the city limits.  Because some petitions can
contain hundreds if not thousands of signatures, it is unreasonable to assume
that the ED would be able to confirm that each signature is valid and for the
petition that is being submitted."  The Executive Director maintained that
"[i]n the Revised Petition, Petitioners submitted signatures that were not on
the same page as the statements that they were attesting to."  He reasoned that
"Petitioners' failure to include signatures on the same page as a clear concise
statement describing their rate action makes it impossible for the ED to
conclude that the Petitioners' signatures are valid."




  	In the original version of their petition, the Ratepayers failed to include the
phone number for each signatory.  The Executive Director did not dispute
that the second version of the Ratepayers' petition contained phone numbers
for each signatory.



The TCEQ's Office of Public Interest Counsel, on the other hand, argued that the Ratepayers had
met the basic requirements of rule 291.42, substantially complied with "the extra information
required by the TCEQ Pamphlet," and, in any event, did not "fail to prosecute their appeal."  The
City also filed briefing in support of the TCEQ staff's action, and the Ratepayers filed a reply.

		The deadline for the TCEQ commissioners to act was subsequently extended
until&nbsp;August 24, 2006.  That date passed without the commissioners taking action on the
Ratepayers'&nbsp;"Motion for Reconsideration."  TCEQ gave notice to the ratepayers that their motion
was overruled by operation of law.  Citing what it regarded as ambiguities as to appellate remedies,
the Ratepayers, "in an abundance of caution," filed both a motion for rehearing of the
commissioners' failure to act on their motion for reconsideration as well as a suit for judicial review
of that action.  After the Ratepayers' motion for rehearing was overruled by operation of law, they
filed a second suit for judicial review concerning that action.  The two administrative appeals were
subsequently consolidated.  On July 27, 2007, the district court rendered judgment affirming the
TCEQ's decision.  The County then appealed to this Court.


ANALYSIS

		The County brings two issues on appeal.  In its first issue, the County contends that
the record does not support TCEQ's decision to reject or dismiss the Ratepayers' appeal to TCEQ
for "failure to prosecute" because the Ratepayers "timely and diligently pursued the filing" and each
version of their petition complied with the essential purposes, if not the letter, of rule 291.42.  In
their second issue, the County suggests that TCEQ relied not on any violation of rule 291.42,
properly construed, but upon the Ratepayers' perceived failure to conform their petitions to
additional staff-imposed requirements reflected in the sample petition contained in the
TCEQ's&nbsp;"Appealing a Rate Change Decision Made by a Board of Directors, a City Council,
or&nbsp;County Commissioners" pamphlet.  Because the pamphlet was neither adopted through formal
rulemaking under the Administrative Procedures Act, see Tex. Gov't Code Ann. § 2001.003(6)
(West Supp. 2008), nor indexed and made available for public inspection, see id.  §§ 2001.004-.006
(West 2000), the County urges that the requirements reflected therein are void and unenforceable
to the extent they exceed those contained in rule 291.42 itself.

		In its brief on appeal, TCEQ responds by criticizing the County's brief as
"not&nbsp;conventionally organized," dismissing certain of the County's arguments as "incomprehensible
and irrelevant and should be disregarded by this Court," and maintaining that its dismissal of the
Ratepayers' appeal for noncompliance with its interpretation of rule 291.42 is "reasonable" and
supported by substantial evidence.  Counsel admonishes that this Court "should not second-guess
TCEQ as to the dispositive weight it accorded the defects in [the Ratepayers'] petition," which the
agency regards as "so great as to require the return of the petition."

		Under the substantial evidence rule, we shall reverse or remand an agency decision
for further proceedings if an appellant's substantial rights have been prejudiced because
administrative findings, inferences, conclusions, or decisions are:  (A) in violation of a constitutional
or statutory provision; (B) in excess of the agency's statutory authority; (C) made through unlawful
procedure; (D) affected by other error of law; (E) not reasonably supported by substantial evidence
considering the reliable and probative evidence in the record as a whole; or (F)&nbsp;arbitrary or
capricious&nbsp;or characterized by abuse of discretion or clearly unwarranted exercise of discretion.  Id.
§ 2001.174(2) (West 2000).  In sum, we review agency fact findings for support by substantial
evidence, review legal conclusions for errors of law, and the proper test is whether the evidence in
its entirety is such that reasonable minds could have reached the conclusion that the agency must
have reached to justify its decision or whether the agency acted arbitrarily and&nbsp;without regard to the
facts.  H.G. Sledge, Inc. v. Prospective Inv. &amp; Trading Co., Ltd., 36&nbsp;S.W.3d 597, 602
(Tex.&nbsp;App.--Austin 2000, pet. denied).

		Integral to our analysis is construction of TCEQ's rules.  "We construe administrative
rules, which have the same force as statutes, in the same manner as statutes."  Rodriguez v. Service
Lloyds Ins. Co., 997 S.W.2d 248, 254 (Tex. 1999).  "Unless the rule is&nbsp;ambiguous, we follow the
rule's clear language."  Id.  Although we defer to an agency's&nbsp;interpretation where there is
vagueness, ambiguity, or room for policy determinations in&nbsp;the&nbsp;regulation, we cannot defer to an
administrative interpretation that is plainly erroneous&nbsp;or&nbsp;inconsistent with the regulation or the
underlying statute.  Id. at 254-55 (quoting&nbsp;Public&nbsp;Util.&nbsp;Comm'n of Tex. v. Gulf States Util. Co.,
809&nbsp;S.W.2d 201, 207 (Tex. 1991)); Gates v.&nbsp;Texas Dep't of Family and Protective Servs.,
252&nbsp;S.W.3d 90, 98 (Tex.&nbsp;App.--Austin&nbsp;2008,&nbsp;no&nbsp;pet.); BFI Waste Sys. of N. Am., Inc. v. Martinez
Envtl. Group., 93&nbsp;S.W.3d 570, 575 (Tex.&nbsp;App.--Austin 2002, pet. denied).

		To the extent our analysis turns on any TCEQ determinations of underlying facts, (14)
we consider the reliable and probative evidence in the record as a whole to determine whether it is
such that a reasonable mind might accept it as adequate to support those conclusions of fact. 
Tex.&nbsp;Gov't Code Ann. § 2001.174(2)(E); Hinkley v. Texas State Bd. of Med. Exam'rs, 140 S.W.3d
737, 743 (Tex. App.--Austin 2004, pet. denied).  The agency determines the meaning, weight, and
credibility to assign conflicting evidence, Texas State Bd. of Med. Exam'rs v. Scheffey, 949 S.W.2d
431, 437 (Tex. App.--Austin 1997, pet. denied), and we may not set aside an agency decision
because testimony was conflicting or disputed or because it did not compel the agency's decision.
Firemen's &amp; Policemen's Civil Serv. Comm'n v. Brinkmeyer, 662 S.W.2d 953, 956 (Tex. 1996). 
We&nbsp;are ultimately concerned with the reasonableness of the agency's order, not its correctness. 
See&nbsp;id.  The crux of a substantial evidence analysis is whether the agency's factual findings
are&nbsp;reasonable "in light of the evidence from which they were purportedly inferred."  Id.
(citing&nbsp;John&nbsp;E.&nbsp;Powers, Agency Adjudications 163 (1990)).

		We presume that the TCEQ's findings, inferences, conclusions, and decisions are
supported by substantial evidence, and the County has the burden to prove otherwise.  Granek
v.&nbsp;Texas&nbsp;State Bd. of Med. Exam'rs, 178&nbsp;S.W.3d at 761, 778 (Tex. App.--Austin 2005, no pet.). 
Whether the TCEQ decision was supported by substantial evidence is a question&nbsp;of law. 
Montgomery Indep. Sch. Dist. v. Davis, 34 S.W.3d 559, 562 (Tex. 2000).  The&nbsp;district court's
judgment affirming the agency decision is thus not entitled to deference on appeal.  Texas Dep't of
Pub. Safety v. Alford, 209 S.W.3d 101, 103 (Tex. 2006) (per curiam).  On&nbsp;appeal of that judgment,
we consider the same question presented to the district court:  whether the TCEQ's decision was
supported by substantial evidence.  See Montgomery, 34 S.W.3d at 562.

		We begin by noting a few undisputed facts from the record.  As TCEQ acknowledges,
the "City of Pecos Outside City Limit Water/Wastewaster Customers As of 12-13-05"
lists&nbsp;55&nbsp;ratepayers who reside outside the City's municipal boundaries and whose rates were
changed.  It also acknowledges that the list was faxed to TCEQ from the City.  The record contains
a corresponding fax cover sheet indicating that the city manager faxed the document to the
TCEQ&nbsp;Staff Auditor who reviewed the petitions.  The date of the transmission was
May&nbsp;11,&nbsp;2006--while TCEQ staff was considering the Ratepayers' appeal.  The list of 55 outside
ratepayers whose rates had been changed included sixteen of the seventeen persons who signed the
Ratepayers' original petition and all fourteen persons who signed their revised petition.  The
Ratepayers were required to obtain only six signatures from outside ratepayers whose rates had
been&nbsp;changed in order to appeal the rate change under section 13.043(b)(3) of the water code. 
See&nbsp;Tex.&nbsp;Water Code Ann. § 13.043(b)(3), (c).  The Ratepayers thus obtained more than double the
statutorily-required minimum in each of their two petitions.

		The record, in short, leaves no room for reasonable disagreement that both versions
of the Ratepayers' petition contained the requisite number of signatures of persons who, in fact,
possessed the "two qualifications" of living outside the City and having had their rates changed.
Even if there was any reasonable question in that regard, the record demonstrates, at a minimum, the
ease with which the TCEQ staff could have verified that at least six of the names signed on the
Ratepayers' petitions were those of persons who were outside ratepayers and had their rates changed. 
The City, as the legislature contemplated in section 13.043(i) of the water code, knew the identities
of its outside ratepayers who had their rates changed.  Here, that information was contained in
a&nbsp;single-page document listing 55 names.  TCEQ obtained that document from the City via fax. 
To&nbsp;verify that a sufficient number of signed names were those of outside ratepayers whose rates had
changed, TCEQ staff needed only to compare the names on the petitions to the names on the list and
find a mere six that corresponded.

		Nonetheless, TCEQ maintains that it properly dismissed the Ratepayers' appeal 
because they did not include on each signature page a recitation of the Ratepayers' old and new rates
and, in that manner, demonstrate that the signatures were "from people whose rates have
been&nbsp;changed."  It is necessary to "strictly enforce" this requirement, the agency has insisted,
"[b]ecause&nbsp;some petitions can contain hundreds if not thousands of signatures" and it would be
"unreasonable" if not "impossible" for the agency staff to verify the signatories' qualifications in any
other way.  On appeal, TCEQ presses this logic a step farther, arguing that the Ratepayers'
attachment and incorporation of their old and new rates by reference was not sufficient because the
agency could not ascertain from these documents that each signatory's rates had, in fact, changed. (15) 
The irony of such reasoning in this case is that, again, the record establishes that both of the
Ratepayers' petitions, in fact, contains more than double the required number of signed names of
ratepayers who resided outside the City and whose rates had been changed.  At a minimum, the
record demonstrates that it was hardly "impossible" or "unreasonable" for the agency staff to confirm
that fact based on the information the Ratepayers had provided.

		TCEQ's application of its requirement that each petition signature page contain a
recitation of the ratepayers' old and new rates was thus wholly unmoored from its underlying
rationales.  The agency's dismissal of the Ratepayers' appeal on that basis must ultimately rest on
the notion that it can throw out the appeal based on the bare conclusion that the Ratepayers
committed a technical violation of rule 291.42, without regard to whether the Ratepayers
actually&nbsp;satisfied the statutory conditions to appeal or how easily that fact could have been verified. 
That notion is squarely inconsistent with the TCEQ's rules and the underlying statutes that the rules
are intended to implement.  The legislature has mandated that if more then ten percent of
a&nbsp;municipally-owned utility's outside ratepayers whose rates had changed sign a petition to
appeal&nbsp;the&nbsp;municipality's rate-making decision, they have the right to appeal to TCEQ.  See id.
§&nbsp;13.043(b)-(c).  The Ratepayers met those conditions.  The TCEQ's interpretation and application
of rule 291.42 has subverted the legislature's intent and deprived the Ratepayers of their statutory
rights, and is invalid.  See Gates, 252 S.W.3d at 98 (rejecting agency rule construction that deprived
a party of an administrative remedy provided by statute).

		Nor do the TCEQ's rules purport to grant the agency authority to dismiss appeals
based on the bare fact that a petition omits a "concise description" of the signatories' rate change
and/or a recitation of their old rates and new rates.  TCEQ's rules do not prescribe any consequence
for failing to comply with rule 291.42, much less the outcome-determinative sanction of dismissal
for "failure to prosecute."  To the contrary, TCEQ, again, characterizes these requirements as
mechanisms necessary to enable it to ascertain whether petition signatories meet the underlying
statutory requirements of being outside ratepayers whose rates have changed.  Whatever authority
TCEQ would possess under this scheme to dismiss an attempted appeal would, consequently, derive
from the petitioners' failure to satisfy the statutory conditions to appeal, not because the petitioners
violated rule 291.42, per se.  In short, nothing in these rules makes compliance with rule 291.42 an
outcome-determinative end unto itself.  TCEQ has not supplied the Court with any citation or
reference to authority to suggest otherwise.

		On this record, TCEQ's dismissal of the County's appeal for failure to include
recitations of the Ratepayers' old and new rates is inconsistent with the agency's rules and the
statutes governing appeals under section 13.043(b), is arbitrary and capricious, and is not supported
by substantial evidence.  See id.  Our analysis is also informed by the Texas&nbsp;Supreme Court's recent
jurisprudence concerning the election code's requirements that candidates for certain offices obtain
petition signatures from registered voters eligible to vote for the office the candidate is seeking.  The
supreme court has held that statutory requirements that signatories provide such information as their
residence address, city, zip code, and voter registration numbers, even though stated in mandatory
terms, are not inflexible technicalities that must be met in every case lest the signature be invalidated. 
Instead, the court has held that such requirements must be applied in light of their underlying
purposes of enabling verification of the signatures as&nbsp;those of registered voters eligible to vote for
the office and thereby qualified to sign the petition.  See In re Bell, 91 S.W.3d 784, 787-88
(Tex.&nbsp;2002).  For example, in Bell, the supreme court held that where certain persons signing the
petition for a Harris County justice of the peace candidate provided their birth dates, street names
and numbers, county and voter registration numbers, but not their city of residence as required by
the election code, their signatures were not invalid because their city of residence would not aid in
determining their eligibility to vote in the election for that particular office and the other information
was sufficient to allow such verification.  Id.  The court's analysis was&nbsp;derived in part from the code
construction act's guidance that codes should be construed to the end of a "just and reasonable"
result in light of the "object sought to be attained" by the enactment.  Id.  at 787 ("if the information
omitted will not aid in determining the signer's voting eligibility for a particular election,
invalidating the signatures is not a 'just and reasonable result' in light of the object 'sought to be
obtained' by the statute."); see Tex. Gov't Code Ann. §§ 311.021(3), .023(1) (West 2005).  Here,
like the supreme court in Bell, we apply a reasonableness standard--substantial evidence--and
similarly conclude that TCEQ fell below that standard when dismissing the Ratepayers' appeal for
omitting information wholly unnecessary to effect the purposes for which that information is
required.

		TCEQ also argues that it could dismiss the Ratepayers' appeal because the irregular
pagination of the Ratepayers' revised petition somehow created a risk that the signatories did not
"knowingly and intentionally"appeal their rate change.  We observe that thirteen individuals, plus
the County, signed both versions of the petition; that the original stated in bold print at the top
of&nbsp;each signature page that "I join the petition to appeal the adoption of the Town of Pecos
City&nbsp;Ordinance No. 05-12-01 effective December 8, 2005, which adopted water and wastewater
rates that are not just and reasonable to the Texas Commission on Environmental Quality";
and that the revised version contained even more elaborate acknowledgments on virtually
all&nbsp;signature pages, although such language sometimes appeared below the signatures. 
TCEQ's&nbsp;suggestions that these persons somehow would have missed the fact that they were
protesting their new water rates is unreasonable and not supported by substantial evidence.

		The County has not challenged whether TCEQ had statutory authority to adopt
rule&nbsp;291.42 as a means of administering the petition requirements of section 13.043 of the
water&nbsp;code, and we intend no comment on that question.  Nor is it necessary for us to reach the
County's contentions that TCEQ's requirement that petitioners recite their old and new rates on each
petition signature page is inconsistent with rule 291.42 or constitutes a new "rule" not validly
adopted under the APA.  We are likewise not addressing circumstances that might be present in other
rate appeals, such as those involving municipalities that might have larger numbers of outside
ratepayers.  We hold only that, on this record, TCEQ's decision to dismiss the Ratepayers' appeal
is not supported by substantial evidence, for reasons we have explained.  We reverse the TCEQ's
decision dismissing the appeal and the district court's judgment affirming that action.  We remand
this matter to the TCEQ for further proceedings.



						____________________________________________

						Bob Pemberton, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Reversed and Remanded

Filed:   August 28, 2008
1.   The legislature has further provided:


The commission may establish the effective date for the commission's rates at the
original effective date as proposed by the service provider, may order refunds or
allow a surcharge to recover lost revenues, and may allow recovery of reasonable
expenses incurred by the retail public utility in the appeal proceedings.  The
commission may consider only the information that was available to the
governing&nbsp;body at the time the governing body made its decision and evidence of
reasonable expenses incurred by the retail public utility in the appeal proceedings. 
The rates established by the commission in an appeal under Subsection (b) of this
section remain in effect until the first anniversary of the effective date proposed by
the retail public utility for the rates being appealed or until changed by the service
provider, whichever date is later, unless the commission determines that a
financial&nbsp;hardship exists.


Tex. Water Code Ann. § 13.043(e) (West 2008).  See also id. § 13.043(h) (authorizing TCEQ, on
motion by its executive director or the appellant, to establish interim rates to be in effect until a final
decision on the appeal is made).
2.   Each person receiving a separate bill is considered a ratepayer, but one person may not be
considered more than one ratepayer regardless of the number of bills the person receives.  Id.
§&nbsp;13.043(d).  The petition for review is considered properly signed if signed by a person, or the
spouse of a person, in whose name utility service is carried.  Id.
3.   Although emphasizing that in his transmittal letter that he "continue[d] to believe that
the&nbsp;use of a particular form is not a legal requirement," the Ratepayers' counsel stated that
"as&nbsp;a&nbsp;courtesy and in an effort to accommodate your requests, we are enclosing a petition again
executed by the same water and wastewater customers who executed the original."  Counsel
concluded, "We look forward to working with the Staff to reach a reasonable result."
4.   With the prior version, counsel had provided this same information in a transmittal letter.
5.   The first sentence was identical to the statement that had appeared at the top of the
signature page in the petition's original version.  
6.   Each signature block appeared in the following format:


	1.	Signature: 	[signed] Jimmy B. Galindo

		Name:	 	Jimmy B. Galindo

		Address: 	[street address in original]

				Pecos, Texas 79772

		Phone No:	(432) 445-[number in original]
7.   Every address was in "Pecos, Texas 79772" and every phone number was in area code
432&nbsp;and had the prefix 445.
8.   The signature blocks were in the following order:


1.	Jimmy B. Galindo

2.	Peggy Cox

3.	Manuel Salcido


4.	Russ Salcido

5.	Hilda Garcia

6.	Belen Adame


7.	Herrera Industries

8.	Nicholas Valenzuela

9.	Daniel Valenzuela


10.	Yolanda Sandoval

11.	Emeteria Sandoval

12.	Billy W. Overcash


13.	Aurelio Lopez, Jr.

14.	Aurelio Lopez

15.	Fred Brookshire


		16.	Dene Lindsey

		17.	Wayne W. North
9.   Although the record is silent regarding an explanation for the irregular pagination, the
Ratepayers' counsel represented during oral argument that counsel had emailed an electronic version
of the petition to their clients, who then printed the document at their end, and that the page settings
of their respective computers or printers apparently differed.  In any event, as we explain below, the
pagination of the second petition version is ultimately irrelevant.
10.   Brief of Appellee Texas Commission on Environmental Quality at 19 n.53.
11.   Id. at 19 &amp; n.53.
12.   The sole exception was Aurelio Lopez, Jr.--only one "Aurelio Lopez" appears on the list.
13.   The TCEQ commissioners by rule have delegated to the agency's executive director
authority to act on administratively complete appeals of rate matters under chapter 13 of the
water&nbsp;code.  30 Tex. Admin. Code § 50.131(a), (b)(12) (2006).  The TCEQ rules permit the
executive director's decisions pursuant to this delegation to be appealed to the TCEQ
commissioners.  See id. § 50.139 (2006).  The parties have followed this procedural framework in
regard to the TCEQ staff's dismissal of the Ratepayers' appeal.
14.   As TCEQ acknowledges, because of its rejection of the Ratepayers' petitions, their
"appeal&nbsp;to TCEQ self-destructed at the initial stage instead of moving forward to a traditional
contested case hearing and final adjudicative order." Consequently, the administrative record is
limited to the filings before the agency when it was acting on the petitions.
15.   This argument is somewhat inconsistent with the position advanced by the
Executive&nbsp;Director in his briefing to the TCEQ commissioners.  While acknowledging that the
Ratepayers "attached a schedule of the new rates" to the second version of their petition, the flaw
he identified was the Ratepayers' supposed failure to "include their prior rates."  On appeal, TCEQ
has appeared to concede that the petitions attached charts of both the old and new rates, though it
insists that it cannot discern from the charts the specific rates that each signatory has been charged.


